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   1                        UNITED STATES DISTRICT COURT

   2                       WESTERN DISTRICT OF LOUISIANA

   3                             ALEXANDRIA DIVISION

   4      UNITED STATES OF AMERICA          *          CRIMINAL ACTION
                                            *          NUMBER 07-10030-01
   5                                        *
          vs.                               *          December 12, 2007
   6                                        *          11:11 a.m.
                                            *
   7      RICHARD L. McNAIR                 *          Alexandria, Louisiana
                                            *
   8      * * * * * * * * * * * * * * * * * *

   9

  10         INITIAL APPEARANCE, ARRAIGNMENT, and DETENTION HEARING

  11

  12      Certified transcript of proceedings before the Honorable
          James D. Kirk, United States Magistrate Judge.
  13

  14      APPEARANCES:

  15      FOR THE GOVERNMENT:        James G. Cowles, Jr.
                                     United States Attorney's Office
  16                                 300 Fannin Street, Suite 3201
                                     Shreveport, Louisiana 71101-3068
  17
          FOR THE DEFENDANT:         Wayne J. Blanchard
  18                                 Federal Public Defenders Office
                                     102 Versailles Boulevard, Suite 816
  19                                 Lafayette, Louisiana 70501

  20
          REPORTED BY:               Myra Primeaux, RMR, CRR
  21                                 Post Office Box 348
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  23

  24
          Proceedings recorded by mechanical stenography, transcript
  25      produced by computer.
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   1                 THE COURT:    The last matter on the docket here

   2      this morning is United States v. Richard L. McNair.

   3            Mr. McNair, would you stand up, please, sir?

   4            Madam Clerk, would you swear Mr. McNair to tell the

   5      truth?

   6            (Defendant sworn.)

   7                 THE COURT:    Mr. McNair, do you understand, sir,

   8      that you are here for the purpose of entering a plea to the

   9      charges against you?

  10                 THE DEFENDANT:     Yes, Your Honor.

  11                 THE COURT:    And have you had a chance to read the

  12      charges in the indictment?

  13                 THE DEFENDANT:     Yes, Your Honor.

  14                 THE COURT:    And have you had an adequate

  15      opportunity to discuss with your attorney, Mr. Blanchard,

  16      those charges?

  17                 THE DEFENDANT:     Yes, Your Honor.

  18                 THE COURT:    Do you want me to read the indictment

  19      to you?

  20                 THE DEFENDANT:     No, Your Honor.

  21                 THE COURT:    All right.    I do need to advise you,

  22      though, of the maximum possible penalty.         You're charged

  23      with a violation of 18 U.S.C. Section 751, which is escape

  24      from confinement after conviction.        The maximum possible

  25      penalty is a five-year prison term, a $250,000 fine, a $100
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   1      Criminal Victim Fund assessment, one year minimum to five

   2      years maximum probation, and up to three years supervised

   3      release.

   4            Do you understand, Mr. McNair, that if you plead

   5      guilty or if you are convicted after trial, that those are

   6      the maximum possible penalties and, in the case of

   7      probation, the minimum possible penalty that you could

   8      receive?

   9                 THE DEFENDANT:     Yes, Your Honor.

  10                 THE COURT:    With that understanding, how do you

  11      plead?

  12                 THE DEFENDANT:     Not guilty, Your Honor.

  13                 THE COURT:    Let the not guilty plea be entered.

  14      Trial will be set in a conference before me.         The attorneys

  15      to be notified of the date and time of the conference.           I

  16      am signing a criminal pretrial discovery order and

  17      providing the attorneys with copies of it.

  18            And a detention order was previously signed as to Mr.

  19      McNair, and I assume that circumstances have not changed.

  20            Mr. Blanchard, is that correct, sir?

  21                 MR. BLANCHARD:     I don't believe they have, Your

  22      Honor.

  23                 THE COURT:    So Mr. McNair will continue to be

  24      detained for purposes of this proceeding pursuant to that

  25      order.
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   1            Mr. Cowles, anything further with regard to Mr.

   2      McNair's case or any of these cases?

   3                 MR. COWLES:     No, sir.

   4                 THE COURT:    Mr. Blanchard?

   5                 MR. BLANCHARD:     I don't believe so.

   6                 THE COURT:    All right.    That concludes matters.

   7      Each of the defendants is remanded to the custody of the

   8      federal marshals.

   9                     (End of proceedings at 11:14 a.m.)

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   1                            C E R T I F I C A T E

   2

   3            I, Myra Primeaux, Official Court Reporter, do hereby

   4      certify that the foregoing pages numbered 1 through 4 do

   5      constitute a true and correct record of proceedings had in

   6      said Initial Appearance, Arraignment, and Detention Hearing

   7      to the best of my ability and understanding.

   8            I certify that the transcript fees and format comply

   9      with those prescribed by the court and the judicial

  10      conference of the United States.

  11            Subscribed and sworn to this 8th day of March, 2009.

  12

  13                                       s/ Myra Primeaux

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